Case 21-30589-MBK        Doc 1377      Filed 02/04/22 Entered 02/04/22 12:14:09                  Desc Main
                                     Document      Page 1 of 4
                                                                             21st Floor
                                                                             1251 Avenue of the Americas
                                                                             New York, NY 10020-1104

                                                                             Geoffrey Brounell
                                                                             212.489.8230 tel
                                                                             212.489.8340 fax

                                                                             GeoffreyBrounell@dwt.com




                                        February 4, 2022


 VIA ELECTRONIC FILING & EMAIL

 Honorable Michael B. Kaplan
 U.S. Bankruptcy Court for the District of New Jersey
 402 East State Street
 Trenton, NJ 08608
 Courtroom #8

                Re: In re LTL Management, LLC (Case No. 21-30589(MBK))

 Dear Judge Kaplan:

        We represent non-party Reuters News & Media, Inc. (“Reuters”) and write in regards to
 LTL Management, LLC and Johnson & Johnson’s (together “Movants”) Motion for Temporary
 Restraining Order and Preliminary Injunction (Dkt. No. 1359) (the “Motion”) and Movants’
 Application for Order Shortening Time, which requests a hearing today, February 4, 2022 (Dkt.
 No. 1360).

         Movants have asked this Court to issue an order enjoining Reuters from publishing an
 article concerning the talc litigation against Johnson & Johnson. As their basis, Movants argue
 that Reuters received “confidential information” in violation of a Protective Order in the
 Bankruptcy Proceeding to which Reuters is not a party. See Mot. at 2-3.

          The relief that Movants ask this Court to impose is among the most extraordinary remedies
 a litigant can request under the law—a prior restraint of speech on a matter of public interest. Such
 a restraint is the “most serious and least tolerable infringement on First Amendment rights” in the
 American republic. Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). To the extent
 Movants believe that issuance of a temporary restraining order is meant to merely preserve the
 status quo, see Mot. at 7, “[w]here the freedom of the press is concerned . . . the status quo is to
 publish news promptly that editors decide to publish.” Procter & Gamble Co. v. Bankers Trust
 Co., 78 F.3d 219, 226 (6th Cir. 1996) (internal quotations omitted). “A restraining order disturbs
 the status quo” in the First Amendment context. Id.

         We, therefore, request that the Court allow Reuters the opportunity to brief this issue before
 any relief is entered. Because Movants filed their Motion after 11:00 p.m. yesterday, February 3,
 and did not provide a copy of the Application for Order Shortening Time until 10:11 a.m. today,
Case 21-30589-MBK        Doc 1377      Filed 02/04/22 Entered 02/04/22 12:14:09              Desc Main
                                     Document      Page 2 of 4



 Hon. Michael B. Kaplan
 February 4, 2022
 Page 2


 Reuters respectfully requests that the deadline for its Opposition to the Motion be set for Monday,
 February 7, 2022. Reuters stands ready to be heard on the Motion at the Court’s convenience
 thereafter.

        In addition, attached to this letter, please find a letter my colleague, Katherine Bolger, sent
 this morning to Movants’ attorneys informing them that the very premise of their request for an
 unconstitutional prior restraint is false. Of the two alleged “confidential documents” cited in the
 Motion, Jones Day removed the confidentiality designation on one and the other is not in Reuters’
 possession. In the letter, Ms. Bolger urges opposing counsel to withdraw this action, but they have
 not done so. In addition, Ms. Bolger makes clear that Reuters intends to move forward with the
 publication of its article given the frivolous position Movants have taken here.

        Reuters reserves all defenses and objections.


                                                Respectfully,

                                                Davis Wright Tremaine LLP


                                                /s/ Geoffrey Brounell

                                                Geoffrey Brounell
Case 21-30589-MBK       Doc 1377     Filed 02/04/22 Entered 02/04/22 12:14:09                  Desc Main
                                   Document      Page 3 of 4
                                                                          21st Floor
                                                                          1251 Avenue of the Americas
                                                                          New York, NY 10020-1104

                                                                          Kate Bolger
                                                                          (212) 402-4068 tel
                                                                          (212) 379-5244 fax

                                                                          KateBolger@dwt.com




                                        February 4, 2022

  Paul R. DeFilippo                               Kenneth A. Rosen
  Wollmuth Maher & Deutsch LLP                    Mary E. Seymour
  500 Fifth Avenue                                Lowenstein Sandler LLP
  New York, NY 10110                              One Lowenstein Drive
  pdefilippo@wmd-law.com                          Roseland, New Jersey 07068
                                                  krosen@lowenstein.com
                                                  mseymour@lowenstein.com

  Gregory M. Gordon                               Jessica C. Lauria
  Brad B. Erens                                   Glenn M. Kurtz
  Dan B. Prieto                                   Gregory M. Starner
  Amanda Rush                                     White & Case LLP
  Jones Day                                       1221 Avenue of the Americas
  2727 N. Harwood Street                          New York, NY 10020
  Dallas, TX 75201                                Jessica.lauria@whitecase.com
  gmgordon@jonesday.com                           gkurtz@whitecase.com
  bberens@jonesday.com                            gstarner@whitecase.com
  dbprieto@jonesday.com
  asrush@jonesday.com


        Re:      LTL Management LLC
                 21-30589 (MBK), United States Bankruptcy Court, District of New Jersey

 Dear Counsel:

        We have been retained to represent Reuters News & Media, Inc. to respond to the request
 for a Temporary Restraining Order and Preliminary Injunction To Prevent Reuters From
 Publicizing Confidential Documents Subject To A Protective Order (Dkt. No. 1359).

         Before we oppose this motion publicly, I am writing to inform you that it is based on two
 false statements and to give you the opportunity to withdraw it.

        The sine qua non of your argument is that, “Of note, Mr. Spector discussed two documents
 that were produced in this bankruptcy proceeding pursuant to the Protective Order and that were
 marked “Confidential”:
Case 21-30589-MBK         Doc 1377     Filed 02/04/22 Entered 02/04/22 12:14:09               Desc Main
                                     Document      Page 4 of 4
 February 4, 2022
 Page 2 of 2


       (1) “the minutes from a May 17, 2021 Special Meeting of the Board of Directors of J&J, during
           which J&J General Counsel Michael Ullman briefed directors on talc litigation and J&J’s
           appeal of a Missouri talc verdict to the U.S. Supreme Court (LTL 0019825);” and

       (2) “a series of communications in April 2021 regarding a meeting that included Jones Day
           partner Greg Gordon and his team to discuss a potential divisional merger and bankruptcy
           (LTL 0036459-61).”

 See Mot. at 3.

         But you are wrong. First, regarding the minutes from the May 17, 2021 J&J board meeting:
 On January 7, 2022, Jones Day partner Mark Rasmussen, representing LTL, specifically agreed
 that the redacted May 17, 2021 board meeting minutes (LTL 19825-26) are not confidential and,
 accordingly, agreed to remove the “Confidential” designation on the document.

         Second, regarding our alleged possession of April 2021 communications regarding a
 meeting with Jones Day lawyers to discuss a potential divisional merger and bankruptcy (LTL
 0036459-61): Reuters does not possess those communications. Our information about that meeting
 is gleaned from a publicly filed deposition of LTL Chief Legal Officer John Kim. This deposition
 can be found on PACER at Docket No. 142 in case 21-03032-MBK, LTL Management LLC v.
 Those Parties Listed on Appendix A to the Complaint. The deposition is attached as Exhibit A to
 the Declaration of Melanie L. Cyganowski.

          Because these two documents represent the entire basis for your Motion, we trust you will
 withdraw it immediately. If you do not do so, Reuters will seek fees against you for your frivolous
 litigation conduct. See Fed. R. Bankr. P. 9011(b)(3), (c).

        In addition, given the frivolousness of the position and because the status quo in matters
 involving freedom of the press is to publish, Reuters will proceed with its publication of the article.

                                                        Sincerely,

                                                        Davis Wright Tremaine LLP



                                                        Katherine M. Bolger


 Cc:      Tom Clare (tom@clarelocke.com)
          Joe Oliveri (joe@clarelocke.com)
          Dustin Pusch (dustin@clarelocke.com)
